                                                                  EXHIBIT C
                  UNITED STATES DISTRICT COURT
               MIDDLE DISTRICT OF NORTH CAROLINA
                        1:16-cv-01038-CCE-JLW

ARIANA QAYUMI,
          Plaintiff,

v.                                        DECLARATION OF ARIANA QAYUMI

DUKE UNIVERSITY,
          Defendant.

ARIANA QAYUMI, pursuant to 28 U.S.C. § 1746, make the following
declaration based upon my own personal knowledge.
   1. I am over 18 years old, under no disability, and am otherwise
competent to make this declaration.
    2. I matriculated to Duke University as a freshman in the fall of the
2010-11 school year.
     3.       On March 6, 2011, I had just moved into Southgate, a freshman
dormitory on Duke’s East Campus. My room was on an all-female floor, which
was still unfamiliar to me.
    4.       I planned to stay in that evening, and was preparing dinner in the
common area when Colby Leachman asked me if I wanted to watch the
basketball game with him and a group of his friends at a house nearby.
     5.      I agreed, and went to change my clothes. When I returned, a
young woman told me that Mr. Leachman may have put “something” in my
food. I did not understand what she meant, and ate some of my dinner before
leaving with Mr. Leachman to go to the party.
     6.      Mr. Leachman drove us to the house. I did not know that it was
the Provost’s house or that he was the Provost’s son. No one was there.
     7.     Mr. Leachman assured me that his friends were on their way,
made an alcoholic drink of some kind for me, and insisted that I drink it until I
did so.




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    8.       Within the next 30 or 40 minutes, I became severely impaired; I
was suddenly dizzy, confused; I became unbalanced and uncoordinated, I
began to slur my words, I began to lose muscle control, I found it difficult to
move, and I felt detatched from my surroundings. I never experienced those
symptoms before or since that night.
    9.      I have no memory of what transpired from that point until I
woke up the following morning.
     10.      I later learned some of what happened while I was incapacitated.
Mr. Leachman engaged in sexual intercourse with me without my consent and
while I was not capable of consenting. Mr. Leachman then brought me to
Brian Self’s room in Southgate where Leachman and Self engaged in sexual
intercourse with me, again, without my consent and while I was incapable of
consenting. Mr. Leachman secretly videotaped a portion of the assault without
my consent.
    11.      I awoke the next morning in my dorm room with vaginal tears,
blood in my genital area and bruises all over my body, including bruises on my
neck and rib cage.
     12.     I was never told of Mr. Kozin’s report to Christine Pesetski on
April 11, 2011, even though I had regular communications with Ms. Pesetski
while I was at Duke. I learned of it from my lawyer, long after I had left Duke.
The same is true for all of the other reports of Mr. Leachman, Mr. Self, and Mr.
Jones sexually assaulting other incapacitated women.
     13.      It would have been enormously helpful to me if Duke had
disclosed those reports to me; I spent months in specialized therapy trying in
vain to recover memories of what happened to me on March 6, 2011. Knowing
that what happed to me was part of a pattern of very similar sexual assaults
would have enabled me to accept what happened far more quickly than I could
without that information.
     14. I certify, under penalty of perjury, that the foregoing statements are
true and correct.
     This the 30th day of January, 2018.


                                               _________________________
                                               ARIANA QAYUMI

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